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                              UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF KENTUCKY
                                     AT BOWLING GREEN

IN RE:                                        |       Case No. 18-10170-jal
                                              |
Carol Sue Doyle                               |
                                              |       Chapter 7
                                Debtor        |
                                              |

                      FIRST AND FARMERS NATIONAL BANK, INC.’S
                           MOTION FOR RELIEF FROM STAY


         Comes now, Creditor, First and Farmers National Bank, Inc., a secured creditor herein, and

moves this Court, pursuant to this Motion, for relief from the automatic stay imposed by Section

362 of the Bankruptcy Code and states as follows:

         1. This contested matter relates to Bankruptcy Petition No. 18-10170-jal in the

            Bankruptcy Court for the Western District of Kentucky, which Petition is a Chapter 7

            proceeding, with the debtor being Carol Sue Doyle.

         2. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §1334, as referred

            under 28 U.S.C. §157, and it constitutes a “core proceeding” within the meaning of the

            latter statute.

         3. This Motion is made pursuant to Bankruptcy Rule 4001, and in conformity with Rule

            9014.

         4. First and Farmers National Bank, Inc., had filed before the Adair Circuit Court, prior

            to the filing of the instant proceeding, an action for recovery of money and property,

            and an action foreclosure against the Debtor.

         5. The Debtor, Carol Sue Doyle, did fail to make payment on the notes (promissory note

            60960161-10), the security agreement and the real estate mortgage, attached hereto as
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         Composite Exhibit A, and incorporated herein by reference, and that said Debtor is

         indebted to First and Farmers National Bank, Inc., in the sum of $58,669.91. [See also

         attached affidavit of Larry Walker, Composite Exhibit B.]

      6. Real Property: The property being mortgage is more particularly described as follows:

                   A certain tract or parcel of land lying and being in Adair
             County, Kentucky, and snore particularly described as follows:

                     Beginning at a found ½” x 18” re-bar with cap #3318 on the
             northwest right way of Hwy, #2969 (Snake Creek Road) and N 19
             deg. 17’ 24” E 81.91 feet from the northeast corner of Burton’s
             house and corner to Snake Creek Farm, LLC (Deed Book 222 page
             285); thence leaving aforementioned deed and with right of way and
             crossing driveway S 40 def. 34’ 00” E 180.64 feet to a found ½” x
             18” re-bar with cap #3318 and another corner with Snake Creek
             Farm, LLC; thence leaving right of way and common lines with
             aforementioned deed S 710 def. 51’ 27” W 203.42 feet to found iron
             pin (found) with cap #1401; thence N 29 deg. 17’ 17” W 133.15 feet
             to found ½” x 18” re-bar with cap #3319; thence N 57 deg. 52’ 34”
             E 165.11 feet to the point of beginning, containing 0.64 acre.

                     This survey is subject to any and all easements, restrictions
             and rights of way of record at this time. Magnetic North was
             observed in the field near then ort side of the property on 07/03/00
             with reference bearing northeast 785 degree.

             This being the same property conveyed by Deed dated January 8th,
             2001 from Carol Simpson, single, to Betty Simpson, single and
             Carol Simpson, single which is found of record in Deed Book 251
             page 344, records of the Adair County Clerk’s Office, Kentucky.


                              FIRST GROUND FOR RELIEF

      7. The automatic stay should be terminated for “cause” under Section 362 (d) (l) of the

         U.S. Bankruptcy Code in as much as there is no equity in any of the property at issue.

      8. The requested relief will result in completion resolution of all First and Farmers

         National Bank, Inc.’s issues with the debtor, there is a complete lack of any connection
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           or interference with the bankruptcy case, and litigation in another forum will not

           prejudice the rights of any other creditor, as it will be “in rem.”

                              SECOND GROUND FOR RELIEF

       9. The automatic stay should be terminated due to a lack of adequate protection for

           Movant’s interest in the property. It is further respectfully submitted that the Creditor

           has received no payments for several months and the value of the collateral is dropping.

       WHEREFORE, First and Farmers National Bank, Inc., prays that the automatic stay be

terminated in all respects as against the said Movant:

               (a)    for cause; and,

               (b)    for lack of adequate protection of movant’s interest in the subject property


                                              JUDD, SATTERFIELD & ASSOCIATES, PLLC
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                                              Bowling Green, Kentucky 42102
                                              Telephone: (270) 904-4141

                                              s/Harlan E. Judd, III
                                              _______________________________
                                              Harlan E. Judd, III




                                 CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the foregoing Motion was sent on the 8th day of
March, 2018 forwarded by US Mail means to the following:

Marilyn J. Neumann
Marilyn J. Neumann, P.S.C
108 E. 1st Street
Campbellsville, KY 42718
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Alicia C. Johnson
P.O. Box 1654
Russellville, KY 42276

James Harley Doyle II
Carol Sue Doyle
404 Merchant St.
Columbia, KY 42728



s/Harlan E. Judd, III
____________________________
Harlan E. Judd, III
